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                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                            SAVANNAH DIVISION

MORRIS ALVIN GWEH,                       )



                                         )



      Movant,                            )



                                         )



V.                                       )       Case No. CV412-213
                                         )



UNITED STATES OF AMERICA,                )



                                         )



      Respondent.                        )




                                                              ON

      Morris Alvin Gweh                for 28 U.S.C. § 2255 relief. Doc. 669 . 1

The government moves to dismiss based on Gweh's plea-bargain

agreement to waive his direct and collateral appeal rights. Doc. 674.

I. BACKGROUND

      In 2010 Gweh was charged with one count of conspiracy to possess

with intent to distribute, and to distribute, controlled substances (100

kilograms of marijuana), in, violation of 21 U.S.C. H 841(a)(1), (b)(1)(B)

and 846; one count of possession with intent to distribute marijuana, in

violation of 21 U.S.C. § 841(a)(1) and (b)(1)(D); and one count of

1
 All record citations are to the'criminal docket. Pinpoint citations are to the page
number the electronic case fihingisystem assigns automatically to the upper right hand
corner of each page.
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conspiracy to launder money in violation of 18 U.S.C. § 1956(h). Doc. 50.

Represented by retained Richard M. Darden and Dennis A.

O'Brien, Gweh pled gui to the drug conspiracy and to the money

laundering conspiracy. Does. 269, 447; PSI ¶ 5. In his written plea

agreement he waived his right to a direct appeal and to collaterally attack

his conviction and sentence on any ground. Doc. 447. In exchange, the

government dismissed the remaining count.

     The Probation Office, engaged in various calculations under the

United States Sentencing Gtiidelines (U.S.S.G.), including a reduction for

Gweh's acceptance of responsibility, but recommended a four-level

enhancement because of, inter alia, his leadership role in the conspiracy.

PSI ¶ 40. Gweh's U.S.S.G. advisory range was 168 to 210 months and he

was subjected to a statutory 5-year minimum and 40-year maximum

sentence. PSI ¶T 89-90. Prior to sentencing, he objected to the

four-level enhancement PSI at 24. Overruling that, the Court

sentenced him to a total of 144 months. Doc. 445 at 2; doc. 555 at 22-23.

Gweh appealed but the Eleventh Circuit dismissed it upon the

government's motion, becaUse he waived his right to appeal. Doc. 594 at

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3.

II. ANALYSIS

     Gweh argues that Drden provided him ineffective assistance of

counsel during the plea negotiation process by incorrectly advising him

that: (a) his sentence could hot be enhanced for anything not listed in his

plea agreement (Gweh is upset with the PSI's four-level enhancement,

which was not in the plea 1 agreement); and (b) he could challenge any

enhancement on appeal that was not listed in his plea agreement (i.e., the

four-level enhancement).      e claims this incorrect advice caused him to

unknowingly waive his ri     s to file a direct appeal and a post-conviction

motion. Doc. 681 at 11 (i    isting he "did not agree not to appeal if any

enhancement was applied       d that was not listed in the plea agreement,

because he pled guilty        the assumption that no enhancement would

be applied at sentencing,       if any was applied, he could appeal the

enhancement.") (emphasis added). Because this "bad advice. . . cause[d]

him to waive his right to appeal[,]" Gweh wants his conviction vacated 'so

that he may appeal [his] rote in the offense enhancement." Doc. 681 at




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15 .2

          Gweh's written piGa agreement, which benefitted him greatly

(resulting in a below-Guidelines sentence) waives his direct and collateral

appeal rights:

       Understanding that 18 U.S.C. § 3742 provides for an appeal by a
    defendant of the sentence under certain circumstances, the
    defendant as part of this agreement and in consideration for the
    government's promises hereunder, expressly waives any and all
    rights conferred by the statute to appeal any sentence imposed that
    is within the statutory maximums as set out above. The defendant,
    as part of this agreement and in consideration for the government's
    promises hereunder, also expressly waives any and all rights to
    collateral post-conviction attack of the sentence imposed or the
    voluntariness, providence, or factual basis of the guilty plea entered
    pursuant to this agreement.

       Notwithstanding these waivers, the defendant reserves the right
    to file a direct appeal (but not a collateral attack) of the sentence
    imposed (but not the vtoluntariness, providence, or factual basis of
    the defendant's entry of a guilty plea pursuant to this agreement), in
    the event the sentencing Court imposes a sentence above the
    guideline range it finds as a matter of fact and law to be applicable to
    the defendant and the offenses, whether the upward departure is
    made pursuant to U.S.S.G. §4A1.3( from criminal history) or
    U.S.S.G. §51(2.0 (from offense level).

    The defendant understands and agrees that all other aspects of
    these waivers of appeal and collateral attack rights, and all guideline

2
 Of course, if his conviction was vacated there would be nothing to appeal.
Construing Gweh's pro se reqhest liberally, Sanders v. United States, 113 F.3d 184,
187 (11th Cir. 1997), he wantsa "do-over" appeal (vacate, then reinstate judgment) so
he can appeal the four-level enhancement.
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   findings of fact and law by the sentencing Court, would remain in
   full force and effect notwithstanding the defendant's appeal of an
   upward departure.

Doc. 447 at 4-5 (emphasis added). Gweh also affirmed that he

understood that upon entry of his guilty plea, that he had no absolute

right to withdraw the plea.    Id at 7. And, he understood that:

  The U.S. Probation Office will consider all of defendant's conduct
  related to the offense to! which he is pleading, which may include
  conduct related to Counts of the Indictment which were or are to be
  dismissed or for which the defendant was acquitted, as well as the
  defendant's criminal history, and that these facts may be considered
  by the Court in determining the defendant's sentence. The
  defendant understands that the offense level and criminal history
  category determined by the United States Probation Office and the
  Court may differ from that estimated or projected by defendant's
  counselor the United States Attorney.

Id. at 7-8 (emphasis added).

      By his signature on the plea agreement, Gweh explicitly affirmed

that he had read and undertood the terms of the plea, which accurately

set forth his agreement With the government.           Id. at 13. That

agreement includes his acceptance of the risk that his lawyer could be

wrong about his projection of what the Probation Office might determine

regarding sentence enhancdments. "The record reflects," concluded the

Eleventh Circuit, "that the district court thoroughly questioned Gweh
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about the appeal waiver diliring the Rule 11 proceeding. He answered

under oath that he understood it." Doc. 594 at 33 The same must be said

for the collateral waiver.' At Gweh's guilty plea the Court explained it:

   Q: You may not say yoith lawyers were no good, or the government
   bribed witnesses to testify against you, or invaded the privacy of
   your home, or illegal[ly] [tapped] your telephone, or threaten[ed]
   somebody, or that the judge was no good, and had taken a bribe. All
   of that is off of the table. Do you understand that?

   A: Yes, Your Honor.

' This ruling is now the law of this case. United States v. Rozier, 2012 MIL 3062176
at * 3 (11th Cir. Jul. 27, 2012) (prior decision affirming defendant's original total
sentence -- that his drug and firearms offenses were interdependent -- was now the law
of the case barring jurisdiction to hear for challenge to interdependence again;
"Because we already decided the interdependence question in an earlier appeal, we
may not reconsider it, pursuant to the law-of-the-case doctrine, and Rozier has not
identified any reasons why the dOctrine should be overcome.").

   Note that a collateral appeal waiver does not per se bar § 2255 challenges. In a
recent case where the defendant raised an ineffective assistance claim on direct appeal,
the Eleventh Circuit refused to rbach it because a § 2255 motion is the preferred route
for that. But it paused to note the state of its precedent:

   We express no view on what effect, if any, the plea agreement's collateral attack
   waiver will have in a future 2255 proceeding. See Williams v. United States,
   396 F.3d 1340, 1342 n. 2 (11th Cir. 2005) (declining to address whether
   collateral attack waiver would extend to a claim of ineffective assistance of
   counsel "in entering or negotiating the plea"); Pate] V. United States, 252 Fed.
   Appx. 970, 975 (11th Cir. 2001 7) (unpublished) (collateral attack waiver did not
   bar § 2255 challenge to "validity of ... guilty plea").

United States v. Sierra-Borboll, 2012 WL 4711569 at * 1 (11th Cir. Oct. 3, 2012).
Upon determination that the defendant understood what he was waiving, district
courts have upheld collateral appeal waivers. See, e.g., Unites States v. Crum, 2012
WL 5966635 at *3 (S.D. Ala. Nov. 28, 2012); Hamilton v. United States, 2012 WL
5931677 at * 2-3 (S.D. Ga. Nov. 26, 2012).
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Doc. 556 at 37 (emphasis added).

   The Eleventh Circuit determined he understood his direct appeal

waiver, and that is now the law of this case.    See supra n. 3. As to his

collateral appeal waiver, it is clear that "at the time of the guilty plea,"

Gweh understood "that the right to federal habeas review exist[ed]"

and "that he.. . [gave] up that right as part of his plea bargain."   Allen

v. Thomas, 161 F.3d 667, 610 (11th Cir. 1998.) Again, he was clearly

advised in the plea agreenient "that the offense level and criminal

history category               by the United States Probation Office and

the Court may differ from          estimated or projected by defendant's

counsel or the United States Attorney." Doc. 447 at 7-8. Gweh does

not now claim that he did dot understand that, only that Darden told

him otherwise. But after Darden supposedly told him that, the Court

told him that he could not, once he went through with his guilty plea,

claim that his lawyers were "no good," and that obviously would

include bad advice like assuring him that only plea-agreement listed

enhancements could be used against him in sentencing. That waiver

was plainly explained to Gweh, and he accepted it and benefited from
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it.5

       Gweh's collateral appa1 waiver therefore must be enforced. See

Crawford v. United States, 2012 WL 6621306 at * 2 (11th Cir. Dec 18,

2012) ("Crawford's postconlv-iction challenge to his sentence is barred

by the appeal waiver in hig plea agreement. Crawford acknowledged

during his change of plea hearing that the waiver would bar him from

challenging the miscalculation of his advisory guideline range."). The

government's motion to disitniss should therefore be granted.

III. CONCLUSION

       The Court GRANTS               ant's motion for leave to file a response

brief, doc. 680, but his §        5 motion itself (doc. 669) must be DENIED,

which means the                    's motion to dismiss should be GRANTED.

Doc. 674. Applying the                     of Appealability (COA) standards set

forth in Brown v. United              2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9,

2009), the Court discerns          o COA-worthy issues at this stage of the

litigation, so no COA should, issue.       28 U.S.C. § 2253(c)(1); see Alexander

' See United States v. Benitez-2pata, 131 F.3d 1444, 1446 (11th Cir. 1997) ("Waiver
will be enforced if the goverrment demonstrates either: (1) the district court
specifically questioned the defendant about the waiver during the plea colloquy, or (2)
the record clearly shows that the defendant otherwise understood the full significance
of the waiver.")
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v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (approving sua sponte denial

of COA before movant filed a notice of appeal). And, as there are no

non-frivolous issues to raise on appeal, an appeal would not be taken in

good faith. Thus, in form, pauperis status on appeal should likewise be

DENIED. 28 U.S.C. § 1915(a)(3).

     SO REPORTED AND RECOMMENDED, this                       9     day of

January, 2013.




                                  UNITED                   JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA




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